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 4                       UNITED STATES DISTRICT COURT
 5                               DISTRICT OF NEVADA
 6                                          ***
 7   UNITED STATES OF AMERICA,                )     2:09-CR-00261-PMP-RJJ
                                              )
 8                  Plaintiff,                )
                                              )
 9   vs.                                      )            ORDER
                                              )
10   NATHAN DENT,                             )
                                              )
11                                            )
                    Defendant.                )
12                                            )
13            On December 31, 2009, the Honorable Robert J. Johnston United States
14   Magistrate Judge, entered a Report and Recommendation (Doc. #54) recommending
15   that Defendant’s Motion to Suppress (Doc. #25) be denied.
16            On January 4, 2010, Defendant filed an Objection to Magistrate Judge
17   Johnston’s Report and Recommendation (Doc. #55). To which Plaintiff United
18   States filed a Response (Doc. #57) filed January 6, 2010. On January 8, 2010, the
19   Court heard argument from counsel regarding Defendant’s objections to the Report
20   and Recommendation of the Magistrate Judge.
21            In accord with provisions of 28 U.S.C.§ 636(b)(1)(B) and (C) and Local
22   Rule IB 3-2 the Court has conducted a de novo review of the proceedings before
23   Magistrate Judge Johnston relating to Defendant’s motion to suppress. The Court
24   finds that Defendant’s objection (Doc. #55) should be overruled and the
25   Recommendation of Magistrate Judge Johnston (Doc. #54) should be Affirmed.
26   ///
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 1            IT IS THEREFORE ORDERED that Defendant Nathan Dent’s
 2   Objection (Doc. #55) is Overruled and Magistrate Judge Johnston’s Report and
 3   Recommendation (Doc. #54) is Affirmed and Defendant Dent’s Motion to Suppress
 4   (Doc. #25) is DENIED.
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 6   DATED: January 14, 2010.
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                                                   PHILIP M. PRO
 9                                                 United States District Judge
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